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                                   #:5471

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10
                           UNITED STATES DISTRICT COURT
11
12                       CENTRAL DISTRICT OF CALIFORNIA
13                               SOUTHERN DIVISION
14     JOHN C. EASTMAN                        Case No. 8:22-cv-00099-DOC-DFM
15
                  Plaintiff,
16
       vs.
17
18     BENNIE G. THOMPSON, et al.,

19                Defendants.
20
21

22
23
24
25
                                     Exhibit Q
26
27

28
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                     IN THE SUPERIOR COURT OF FULTON COUNTY

                                   STATE OF GEORGIA



  DONALD J. TRUMP, in his capacity as a          )
  Candidate for President, DONALD J.             )
  TRUMP FOR PRESIDENT' INC.' and                 )
  DAVID SHAFER, in his capacity as a             )
  Registered Voter and Presidential Elector      )
  pledged to Donald Trump for President,         )
                                                 )
      Petitioners,                               )
                                                 )   CIVL ACTION FILE NO.
  v                                              )
                                                 )
  RICHARD L. BARRON, in his official             )
  capacity as Director of Registration and       )
  Elections for Fulton County, JANINE            )
  EVELER, in her official capacity as            )
  Director of Registration and Elections for     )
  Cobb County, ERICA HAMILTON' in her            )
  official capacity as Director of Voter         )
  Registration and Elections for DeKalb          )
  County, KRISTI ROYSTON, in her                 )
  official capacity as Elections Supervisor      )
  for Gwinnett County, RUSSELL                   )
  BRIDGES, in his official capacity as           )
  Elections Supervisor for Chatham County,       )
  KIM STANCIL, in her official capacity as       )
  Director of Elections and Voter                )
  Registration for Cherokee County'              )
  SHAUNA DOZIER, in her official capacity        )
  as Elections Director for Clayton County,      )
  MANDI SMITH, in her official capacity as       )
  Director of Voter Registration and             )
  Elections for Forsyth County, AMEIKA           )
  PITTS, in her official capacity as Director    )
  of the Board of Elections & Registration       )
  for Henry County, LYNN BAILEY' in her          )
  official capacify as Executive Director of     )
  Elections for Richmond County' DEBRA           )
  PRESSWOOD, in her official capacity as         )
  Registration and Election Supervisor for       )
  Houston County, VANESSA WADDELL'               )
  in her           as Chief Clerk of Elections   )




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  for Floyd County, JULIANNE ROBERTS'                )
  in her official capacity as Supervisor of          )
  Elections and Voter Registration for               )
  Pickins County, JOSEPH KIRK' in his                )
  official capacity as Elections Supervisor          )
  for Bartow County, GERALD MCCOWN'                  )
  in his official capacity as Elections              )
  Supervisor for Hancock County' BRAD                )
  RAFFENSPERGER, in his official                     )
  capacity as Secretary of State of Georgia,         )
  REBECCA N. SULLIVAN, in her official               )
  capacity as Vice Chair of the Georgia State        )
  Election Boardo DAVID J. WORLEY' in                )
  his official capacity as a Member of the           )
  Georgia State Election Board,                      )
  MATTHEW MASHBURII, in his official                 )
  capacity as a Member of the Georgia State          )
  Election Board, and ANH LE, in her                 )
  official capacity as a Member of the               )
  Georgia State Election Board,                      )
                                                     )
     Respondents.                                    )


                                 AFFIDAVIT OF BRYAN GEELS

       Personally appeared before the undersigned officer, duly authorized to administer oaths,
 Bryan Geels, who, after being sworn, testifies and states as follows:

                                                    1.

        I am an expert witness on behalf of Petitioner in the above captioned proceeding. I expect

 to testify on the following subject matters: (i) analysis of the database for the November 3,2020

 election for the selection of Presidential Electors in the State of Georgia ("State"); (ii) opinions

 regarding whether individuals identified in the State's voter database were actually qualified to

 vote on Election Day; (iii) opinions regarding the quality of the datathat the Georgia Secretary

 of State and county elections officials relied upon to administer the November 3,2020 election.


                                                    2




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    This is a statement of my relevant opinions and an outline of the factual basis for these

 opinions. The opinions and facts contained herein are based on the information made available to

 me in this case prior to preparation of this report, as well as my professional experience as an

 established data analfiics and risk assessment expert. I reserve the right to supplement or amend

 this statement on the basis of further information obtained prior to the time of trial or in order to

 clarify or conect the information contained herein.

                                                    a
                                                    J




     I reviewed the following documents and data in arriving at my opinions


         a. The Absentee Early Voting File, as maintained by Georgia's Secretary of State, which

         contains records of all voters in the State who voted absentee, either by mail or early in

         person, in the 2020 General Election. The data constitute official records which are

         public and publicly available online.

         b. The Voter Registration File, as maintained by Georgia's Secretary of State, which

         contains the full record of all voters who were registered to vote in the2020 General

         Election.

         c. The Voter Registration File, as maintained by Georgia's Secretary of State, which

         contains the full record of all voters who were registered to vote in the 2016 General

         Election.

         d. Voter History 2020 General Election File, as maintained by, Georgia's Secretary of

         State, which contains the full record voters who cast a vote in the 2020 General Election.

         e. An official list containing information from death certificates for individuals who died

         in the State of Georgia in the calendar year 2020 (the "Deceased Individuals File"). This




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         file was obtained through an open records request with the Georgia Department of Public

         Health (GDPH). Nicole Medrozo, Associate General Counsel, Privacy Officer from the

         Georgia Department of Public Health, produced the file on behalf of GDPH.

         f. An official list of felons in the State of Georgia (the "Inmate File"). This file was
         obtained through a request with the Georgia Department of Corrections (GDOC).

         Kenneth Mantle, Director Offender Administration at GDOC, provided the file.

                                                    4.


         The data files above constitute offrcial records which are public and publicly available

 online on the Georgia Secretary of State's website. Once downloaded, I loaded the data into

 Power BI, a widely-used business software tool for conducting statistical analysis, and created a

 data model for analysis in order to assess the potential for fraudulent or invalid voter records

 contained in the State's files.


                                                    5



         In addition, I discussed the facts of this matter with Petitioner's attorney, RaY S. Smith

  III, and members of his legal team.

                                                    6.



         I am a licensed CPA, and I own adata analytics consultancy firm, Geels Consulting,

  based in Seattle, WA. Before starting Geels Consulting, I worked for 9 years in public

  accounting at alarge CPA firm. Based on my experience as an auditor working as a Senior

  Manager at alarge CPA firm, I am an established data analytics and risk assessment expert.




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                                                   7



         While I did not create or compile the source of the data-the State of Georgia's Elections

 Division did-I am familiar with accessing files on the internet generally, including those

 provided by state and federal governments. I am also an expert working with zip files, Microsoft

 Excel spreadsheets, Power Query, and Power BI.


                                                   8



     With respect to publications I have authored in the last 10 years, I have not authored any

 publications in the last ten years.


                                                   9



     I have been retained as an expert witness for Petitioner. I am being compensated for a flat fee

 of $15,000.00


                                                    10



     I have not provided testimony as an expert either attrial or in deposition in the last four

 years


                                                    11.



     As set forth above, I have been engaged to provide expert opinions regarding analysis in the

  November 3,2020, election of Presidential electors. Based on my review of the documents and

  data described above my discussions with statisticians and analysts working with me and at my

  direction, my discussions with the attomeys representing Petitioner, I make the following

  observations:




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                                                    t2.


     From the State's database for the November 3,2020 election, it is my opinion to a reasonable

 degree of scientific certainty that 4,502 individuals whom the State's database identifies as

 having cast a ballot show no record of having been registered to vote in the November 3,2020

 election.


                                                    13.



     From the State's database for the November 3,2020 election, it is my opinion to a reasonable

 degree of scientific certainty that 305,701 individuals have records indicating that they applied

 for absentee ballots more than 180 days prior to the general election (i.e., prior to May 6,2020),

 exceeding the statutory maximum according to state law.


                                                    14


     From the State's database for the November 3,2020 election, it is my opinion to a reasonable

 degree of scientific certainty that92 individuals whom the State's database identifies as having

 cast a ballot show that they returned their absentee ballots before the ballot was issued to the

 voter


                                                     15



     From the State's database for the November 3,2020 election, it is my opinion to a reasonable

  degree of scientific certainty that29 individuals whom the State's database identifies as having

  cast a ballot show that the absentee ballot was issued before the voter applied for the ballot.




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                                                     16.


     From the State's database for the November 3,2020 election, it is my opinion to a reasonable

 degree of scientific certainty that l0 individuals have records indicating that the early in-person

 ballot was accepted either prior to the start or after the end of early in-person voting in the state

 of Georgia (i.e., prior to October 12 or after November 3).

                                                     17.


     From the State's database for the November 3,2020 election, it is my opinion to a reasonable

 degree of scientific certainty that 50 individuals have records indicating that the mail-in ballot

 was accepted before the earliest possible date that ballots could have been mailed per Georgia

 voting rules (i.e., September 15,2020).


                                                     18.



     From the State's database for the November 3,2020 election, it is my opinion to a reasonable

 degree of scientific certainty that2,664 individuals have records indicating that they were issued

 mailed absentee ballots prior to the earliest possible date that ballots oould have been mailed per

  Georgia voting rules (i.e., September 15 ,2020).


                                                     19.


     From the State's database for the November 3 , 2020 election, it is my opinion to a reasonable

  degree of scientific certainty that 98 individuals whom the State's database identifies as having

  cast a ballot show that they were registered after the last day a person could register to vote per

  Georgia voting rules (i.e., October 5,2020).




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                                                    20.


     From the State's database for the November 3,2020 election, it is my opinion to a reasonable

 degree of scientific certainty that2lT individuals who voted by mail-in ballot have records

 indicating that they applied for the absentee ballot, were issued the absentee ballot, and the ballot

 was retumed all on the same day which seems like an impossible occulrence for a mail-in ballot

 to be applied for, accepted, ballot mailed to the voter, ballot received by the voter, and to have

 been returned all on the same day.


                                                    2t.

     From the State's database for the November 3,2020 election, it is my opinion to a reasonable

 degree of scientific certainty that2 individuals have records indicating that the ballot

 applications were rejected but whose vote was accepted and counted.


                                                    22.


     From the State's database for the November 3,2020 election, it is my opinion to a reasonable

 degree of scientific certainty that 13 individuals have records indicating that the ballot

 application date precedes the voters' registration date. The normal expected fact pattern is that an

  individual should be registered to vote before they apply for an absentee ballot.

                                                    23.


     From the State's database for the November 3,2020 election, it is my opinion to a reasonable

  degree of scientific certainty that there arc 4 accepted votes whose matching record in the

  registration file has a name that is completely different from the name of the voter in the

  Absentee Early Voter file. Due to the simple method used to identify matching names, there are




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  likely more individuals whose vote was matched up to the wrong registration record, including

  the improper matching of similar names. These records are highlighted to show that Georgia's

  voter system allows a person to vote under another person's registration.


                                                     24.


      From the State's database for the November 3,2020 election, it is my opinion to a reasonable

  degree of scientific certainty that there are 66,247 individuals whom the State's database

  identifies as having cast a ballot whose records indicate that they were registered to vote prior to

  their 17th birthday.


                                                     25.


      From the State's database for the November 3,2020 election, it is my opinion to a reasonable

  degree of scientific certainty that there are 6,635 individuals whom the State's database identifies

  as having cast a ballot whose records indicate that they were added to the voter registration file


  subsequent to the 2016 general election (since they weren't listed in the 2016 Voter Registration

  File) but whose voter registration date precedes the 2016 election. This is a significant

  recordkeeping and data integrity issue as the fact pattern indicates that voters were added to the

  registration file after the 2016 election, but the registration date was manipulated and is

  unreliable.


                                                      26.


      From the State's database for the November 3,2020 election, it is my opinion to a reasonable

  degree of scientific certainty that there are 2,024 individuals whom the State's database identifies

  as having cast a ballot whose birth dates was changed when comparing the2020 Voter


  Registration file birthdate to the related 2016 Registration file birthdate. This is a significant




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  recordkeeping issue as the fact pattern indicates that state's recordkeeping of voter birthdates is

  unreliable, at best, or were manipulated intentionally. I called one of the voters in this list,

  Nancy Dousharm, at229-251-8408, and discovered that Nancy voted in-person and showed her

  ID at the early voting location. Her birthdate as shown in the 2016 registration file was

  confirmed to be correct as 1971. Her bifthdate as shown in the 2020 registration file was

  changed to lg4L This fact pattern does not appear to be a case that can be explained by a

  clerical elror, as the birthdate should not change, unless there was valid proof that the birthdate

  in the Registration records was recorded incorrectly. The questions that follow this fact pattern

  could cause a reasonable person to conclude that the birthdate in the Voter Registration File is

  not reliable and may have been manipulated.


                                                      27.


      From the State's database for the November 3,2020 election, it is my opinion to a reasonable

  degree of scientific certainty that there are 134 individuals whom the State's database identifies

  as having cast a ballot whose recorded birthdate is on or before 1915. I researched the


  individuals in this list and discovered that there were l0 individuals in this list who appeared to

  match up to an individual who was deceased prior to the election time period, 1 individual who

  matched to a felon, and 30 individuals who could not be identified.


                                                      28.


      From the Deceased Individuals File and the State's voter database for the November 3,2020

  election, it is my opinion to a reasonable degree of scientific certainty that there were as many as

  10,315 individuals who cast ballots in the November 3,2020 election that were accepted and

  counted but who were deceased prior to Election Day. 8,718 of these individuals are recorded as




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  having perished prior to the date the State records as accepting their ballot. These matches are for

  individuals who appear in the 2020 Death files whose First Name, Last Name, and Birth Year

  match exactly to a record of a Georgia voter in the Voter History File. It should be noted that the

  death file obtained through the open records request contains death certificates only for

  individuals who died in calendar year2020.In all likelihood, there would be significantly more

  matches if the population of deceased individuals was expanded to include persons who perished

  prior to calendar year 2020.It should also be noted that only the Birth Year is available for

  records of voters in the State's database. Because only a Birth Year is provided, there may

  indeed be false positives in the population-for example, due to the match of multiple people

  with a common name who were also born in the same year or to the omission of a suffix. The

  reliability of these matches could be improved and a full analysis conducted (i.e', for all

  individuals who perished prior to calendar year 2020) only by the State of Georgia, which alone

  has access to the full birth date records of its voters and the death certificates for each county for

  all calendar years prior to 2020.

                                                     29


      From the Inmates File and the State's voter database for the November 3, 2020 election, it is

  my opinion to a reasonable degree of scientific certainty that there could have been up to 2,560

  individuals who cast ballots that were accepted and counted but who were inmates. 2,560

  represents the number of individuals in the Active Inmate file whose First Name, Last Name, and

  Birth Year matched exactly to the Voter History File. It should be noted that, similar to the

  analysis in#17 for deceased individuals, only the Birth Year is available in the State's voter

  record files. This analysis therefore may also contain false positives due to the imperfect nature




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  of the match. The reliability of these matches could be improved and a full analysis conducted

  only by the State of Georgia, which alone has access to the full birth date records of its voters.


                                                     30.


      The findings summarized above demonstrate that the state of Georgia's voting system whieh

  the state relies upon to produce accurate election results has numerous control deficiencies

  including unreliable data governance policies to help ensure that votes cast and counted are valid

  votes that comply with national and state election rules. Without a proper controls structures and

  data governance policies in place to govem the election, there is an increased risk of invalid or

  fraudulent votes being counted without detection. It is my opinion that the data relied upon by

  the Georgia Secretary of State and county election officials is either not trustworthy and cannot

  have been relied upon to conduct an election without serious risk of fraud; or, alternatively, if it

  is good data, indicates a significant number of fraudulent or invalid votes of a magnitude which

  calls into question the outcome of the Presidential general election.


                                                     31



      First, the State of Georgia maintains a database for the November 3,2020 election,

  obtainable through the Georgia Secretary of State's website, which list records on voters who

  applied for an absentee or early voter staius for the November 3,.2020election, voters who are

  registered to vote in the State of Georgia for the November 3,2020 election, and voters who are

  registered to vote in the State of Georgia for the November 8,2016 election. I received these

  files in a table format with columns and rows which can be searched, sorted, and filtered. Each

  row sets forth data on an individual voter. The data for each file was loaded into a Power BI data

  model. The Tables were related together using the common key in each file:




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  - GA ABEV STW ("Absentee Early Voting File"): Voter Registration #


  - GA_VF_20GCOB-STW ("Voter Registration File" or "Voter File"):

  REGISTRATION NUMBER


  - GA_VF-16GCOB-STW ("Voter Registration File" or "Voter File")

  REGISTRATION NUMBER


  - Voter History   II 3 2020 ("Voter History File"): Registration Number

                                                    32.


         Each of the observations summarized above where performed using the following filters

  and rationale:


  General filter used to calculate vote counts across all o


  ( 6A_ABEV_STW I Ballot Status ]       : A or GA_ABEV_STW I Ballot Status ] : BlankQ ) AND
  GA_ABEV-STW I Ballot Return Date ] is not BlankQ

                                                     aa
                                                     JJ.




      Records outside of these filters that are included in the Absentee Early Voting File should not

  be counted in vote totals because they do not represent accepted votes that were counted.

  Filtering the Absentee Early Voting File as described above counts only the Absentee Early

  Votes that were accepted and counted.


                                                     34.


      Voted Absentee Not in Voter File: There are 4,502 votes in this population. This is a list of

  early and absentee voters and election day voters whose ballots were accepted but whose voter



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  registration number in the Voter History File does not match up to a record in the Voter

  Registration File. In addition to the general filter, a filter was used to show records with a

  GA_VF_206COB_STW [REGISTRATION_NUMBER] : BlankQ and Voter History ll3 2020

  [Registration Number] is not BlankQ.


                                                     35.


      Voted Absentee, Applied Earlier than 180 Days Before the Election: There are 305,701 votes

  in this population. This is a list of Absentee Early Votes that were counted that had an

  Application Date before May 6, which is more than 180 days before the election. In addition to

  the general fi|ter, a filter was used to show records with GA-ABEV-STW fApplication Date] <

  51612020. Votes in this risk bucket are questionable because Absentee Ballots can only be

  requested up to 180 days before the election per the Georgia state rules found here:

  https://sos.ga.eov/index.php/Elections/absentee-voting-in georgia. May 6,2020is 181 days

  from November 3, 2020. Votes in this population appear to be tell a story that does not comply

  with voter laws in Georgia.

                                                     36


      Ballots Returned Before They Were Issued: There are 92 votes in this population. This is a

  list of Absentee Early Votes that were counted that had a Ballot Return Date before the Ballot

  Issued Date. A calculated field was create using the following formula: Ballots retumed before

  issue date: If(GA_ABEV_STW[Ballot Return Date] < GA-ABEV-STW[Ballot Issued Date],

  1, 0). This creates a field that displays a I for each record that had a Ballot Retum Date before

  the Ballot Issued Date. In addition to the general filter, a filter was used to show records with

  [Ballots returned before issue date]
                                         : 1. Votes in this risk bucket are questionable because



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  Ballots, as a matter-of-fact, cannot be returned before they were issued. The logical fact pattern

  for an Absentee ballot is (1) voter applies for a ballot, (2) application is approved and ballot is

  issued to the voter, (3) ballot is filled out by the voter and the ballot is returned and accepted.

  Ballots cannot be returned before they are issued. Votes in this bucket should be investigated to

  understand why the data in the Absentee Early Voter file tells a story that does not follow the

  logical and expected chain ofevents.


                                                      37


      Ballots Issued Before Application: There are 29 votes in this population. This is a list of

  Absentee Early Votes that were counted that had a Ballot Issued Date before the Ballot

  Application Date. A calculated field was created using the following formula: Ballots issued

  before Application date: If(GA-ABEV-STW[Ballot Issued Date] <

  GA_ABEV_STW[Application Date], 1, 0). This creates a field that displays a 1 for each record

  that had Ballot Issued Date before Application Date. In addition to the general filter, a filter was

  used to show records with [Ballots issued before Application date]
                                                                          : 1. Votes in this risk bucket

  are questionable because Ballots, as a matter of fact, cannot be issued before the ballot was

  applied for by the voter. The logical fact pattem for an Absentee ballot is (1) voter applies for a

  ballot, (2) application is approved and ballot is issued to the voter, (3) ballot is filled out by the

  voter and the ballot is returned and accepted. Ballots cannot be issued before the ballot was

  applied for by the voter. Votes in this appear to tell a story that does not follow the logical and

  expected chain of events.


                                                      38.




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     Early Voter Accepted before October 12,2020 or after November 3,2020: There are 10

  votes in this population. This is a list of Early Votes that were counted that had a Ballot Return

  Date before October 12 or after November 3. In addition to the general filter, a filter was used to

  show records with GA_ABEV-STW [Ballot Style] : "fN PERSON" and (GA-ABEV-STW

                                                                                  > lll3l2020).
  fBallot Retum Date] < 1011212020 or GA_ABEV_STW [Ballot Return Date]

  Early Votes are records with the "IN PERSON" code in the Ballot Style field in the Absentee

  Early Voting data. Votes in this risk bucket are questionable because the period for Early Voting

  is October 12,2020 -November 3,2020 per the Georgia state rules found here:

  https://sos.ga.gov/admin/files/2020%20Revised%20Short%20Calendar.pdf. Votes in this risk

  bucket appear to tell a story that does not comply with Georgia voter rules.


                                                    39


      Mailed Voter Received before they were Eligible to be Sent Out on September 15,2020:

  There are 50 votes in this population. This is a list of Absentee Votes that were counted that had

  a Ballot Return Date before the earliest day for a registrar to mail an absentee ballot of

  September 15,2020. In addition to the general filter, a filter was used to show records with

  GA_ABEV_STW [Ballot Style] : MAILED and GA_ABEV_STW [Ballot Retumed Date] <

  911512020. Absentee Votes are records with the "MAILED" code in the Ballot Style field in the

  Absentee Early Voting data. Votes in this risk bucket are questionable because Absentee Ballots

  were not to be mailed until September 15,2020 per the Georgia state rules found here:

                                                                                  A ballot cannot be

  returned before they were eligible to be mailed out to voters. Votes in this bucket appear to tell

  a story that does not comply with Georgia voter rules.


                                                     40.




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     Active Mailed Voter Issued Before They Were Eligible to be Sent Out on September 15,

  2020: There are2,664 votes in this population. This is a list of Absentee votes that were issued

  before the earliest day for a registrar to mail an absentee ballot of September 15, 2020. In

  addition to the general filter, a filter was used to show records with GA-ABEV-STW[Ballot

  Stylel : MAILED and GA_ABEV_STW[Ballot Issued Date] <911512020. Absentee Votes are

  records with the "MAILED" code in the Ballot Style field in the Absentee Early Voting data.

  Votes in this risk bucket are questionable because Absentee Ballots should not to be mailed to

  voters until September 15, 2020 pet the Georgia state rules found here:

                                         0Revi                     alendar       A ballot should not

  have been issued before the date the ballots were eligible to be sent out to voters' Votes in this

  bucket appear to tell a story that does not comply with Georgia voter rules.


                                                    41.


      Voters who both registered after the deadline of October 5,2020: There are 98 votes in this

  population. This is a list of Absentee and Early Voters who both registered after the deadline of

  October 5,2020. In addition to the general filter, a filter was used to show records with

  6A_VF 2gGCOB_STW IREGISTRATION_DATE] > 101512020. Votes in this risk bucket are

  questionable because October 5,2020 was the last day a person could register and be eligible to

  vote in the November General Election per the Georgia state rules found here:

        //sos                                                                    A person voting in

  this election should not have registered to vote after the deadline of October 5. Votes in this

  bucket appear to tell a story that does not comply with Georgia voter rules.


                                                    42.




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     Absentee Votes Accepted with Same Application Date, Issue Date, and Return date: There

  are2l7 votes in this population. This is a list of Absentee votes that were accepted that had the

  same Application Date, Issue Date, and Ballot Returned Date. A calculated field was create

  using the following formula: Same day (app, issue, return) flag: If(

  AND(GA-ABEV-STW[Application Date]:GA-ABEV-STW[Ballot Issued Date],

  GA-ABEV-STW[Ballot Return Date] : GA-ABEV-STW[Ballot Issued Date]), 1, 0). This

  creates a field that displays a 1 for each record that had the same Application Date, Ballot Issued

  Date, and Ballot Return Date. In addition to the general filter, a filter was used to show records

  with GA-ABEV-STW fBallot Style] : "MAILED" and [Same day (app, issue, return) flag]
                                                                                                     : 1.

  Absentee Votes are records with the "Mailed" code in the Ballot Style field in the Absentee

  Early Voting data. Votes in this risk bucket are questionable because it would be strange to

  expect an absentee ballot to be applied for by the voter, application accepted by the registrar,

  ballot mailed'to the voter, ballot received by the voter in the mail, and returned and accepted all

  on the same day. Votes in this bucket appear to tell a story that does not follow a reasonable

  fact pattern for mail-in ballots.


                                                    43


      Rejected Application Status with Accepted ABEV Status: There are 2 votes in this

  population. This is a list of accepted Absentee and Early Votes that were Accepted with a

  Rejected Application Status. In addition to the general filter, a filter was used to show records

  with GA-ABEV-STW [Application Status] : "R". There are 2 votes in this population. Votes

  in this risk bucket are questionable because if the application was rejected, the vote should not

  have been counted. Votes in this bucket appear to tell a story that does not follow the expected

  fact pattern




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                                                    44


     Ballot Application Date before Registration Date: There are 13 votes in this population.

  This is a list of accepted Absentee and Early Votes that were accepted with a Ballot Application

  Date before the Voter Registration Date. A calculated field was create using the following

  formula: Application Date before Registration Date: If(GA-ABEV-STW[Application Date] <

  RELATED(6A_VF 20GCOB_STW[DATE_ADDED]), 1, 0). This creates a field that displays

  a 1 for each record that had a Application Date before the DATE-ADDED. Per discussion with

  an employee in the Georgia Secretary of State office, the Date Added is the right field to be

  using for the registration date, because it will show the date the voter was added to the list. In

  addition to the general filter, a filter was used to show records with [Application Date before

  Registration Date] : 1. Votes in this risk bucket are questionable because the normal fact pattern

  one would expect when requesting an absentee ballot is to first get the voter registered and then,

  once registered, the voter can apply for an absentee ballot. Votes in this bucket appear to tell a

  story that does not follow the expected fact pattern.


                                                     45


      Non-matching Records - Voter Registry to Absentee Early Voter Record Name Match: This

  is a list of accepted Absentee and Early Votes that were accepted that matched up to an incorrect

  voter record in the Voter File. Two calculated fields were created: First Name match
                                                                                           :

  1eft(GA_ABEV_STW[First Name],3) :

  Ieft(RELATED(GA_VF 20GCOB-STWIFIRST-NAME]), 3) and Last Name match
                                                                     :

  left (GA_ABEV_STW [Last Name],3 )       :



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  1eft(RELATED(GA_VF 20GCOB_STW[LAST_NAME]), 3). These calculated fields display

  True if the first three characters of the Name field in the Absentee Early Voter file matches the

  first three characters of the related Name in the Voter Registration File. In addition to the

  general filter, a filter was used to show records with [First Name Match] : False and [Last Name

  Match l: False and GA_VF_20GCOB_STW [REGISTRATION-NUMBER] is not BlankQ.

  There were 367 votes in this population. Scanning through the list, we picked out 4 records with

  a Name in the Absentee Early Voter file that was completely opposite of the Voter Registration


  File. As described earlier in the document, the common key between the Absentee Early Voter

  file and the Voter Registration File is the Registration Number. The Registration Number in the

  Voter File that matches to the Registration Number in the Absentee Early Voter file for these 4

  records do not appear to be a valid match, because the name in the Voter File is completely

  different than the name in the Absentee Early Voter file. These records are highlighted to show

  that Georgia's voter system allows a person to vote under another person's registration.


                                                    46


      Voters Who Were Underage When Registered: There arc 66,247 votes in this population.

  This is a list of accepted Absentee Early Votes that were accepted whose related Registration

  Date and Birthdate in the Voter Registration File are less than 17 years apart, meaning, according

  to the data, the voter was registered before they were 18. A calculated field was created Age

  when registered : DATEDIFF(DaIe(GA_VF_ I 6COB_STW IBIRTHDATE], 1, I ),

  GA_VF_16COB_STWIDATE_ADDED], YEAR). Per discussion with an employee inthe

  Georgia Secretary of State office, the Date Added is the right field to be using for the registration

  date, because it will show the date the voter was added to the list. In addition to the general

  filter, a filter was used to show records with [Age when registered] < 17. Votes in this risk




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  bucket are questionable because citizens are not eligible to vote until they are 18 year of age or

  older. In Georgia, we recognize that l7-year-old might have registered to vote in this election

  before they turned 18, so we excluded them from our population. Misinformation such as this

  cause a reasonable person to question the accuracy and credibility of the DATE-ADDED and

  BIRTHDATE field. Votes in this risk bucket appear to tell a story that does not comply with US

  voter regulations.


                                                      47


      Additions to the 2020 Voter File (when compared to the 2016 Voter File) with Registration

  Dates prior to the previous election date: There arc 6,635 votes in this population. This is a list

  of accepted Absentee Early Votes that were accepted but did not match up to a record in the

  2016 Voter Registration File, meaning, they were added to the registration list after the 2016

  election yet display a registration date before the previous election. Voter on 2016 List:

  LOOKUPVALUE(GA_VF_ 1 6COB_STW IREGISTRATION_NUMBER],

  GA_VF_ 1 6COB_STW [REGISTRATION_NUMBER],

  GA_VF_20GCOB_STW[REGISTRATION_NUMBER]). This field looks at the related record

  in the 2016 Voter Registration File (matching REGISTRATION-NUMBER) and displays the

  REGISTRATION_NUMBER if there is a matching record found in the 2016 Voter Registration

  File. If the [Voter on20l6 List] field returns a blank value, this means that record did not match

  up to a record in the 2016 registration file. In addition to the general filter, a filter was used to

  show records with GA-VF 20GCOB-STW IDATE-ADDED]                     + 2020 and [Voter on 2016 list]
  is Blank0. Per discussion with an employee in the Georgia Secretary of State office, the Date

  Added is the right field to be using for the registration date, because it will show the date the

  voter was added to the list. Votes in this risk bucket are extremely questionable because if a




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  voter was added to the registration list after the 2016 election, they should not have a

  DATE_ADDED (registration date) that was before the20l6 election. If these individuals were

  truly added to the registration list before the2016 election, they should have been included in the

  2016 Voter Registration File. The questions that follow this type of issues may cause a

  reasonable person to conclude that the DATE_ADDED in the Voter Registration File is

  unreliable or that data within the Registration file has been manipulated. Votes in this risk

  bucket appear to tell a story that does not follow a logical and expected fact pattem and point to

  serious data integrity issues.


                                                     48.


      Inconsistent birthdates in the Voter Registration File: There arc 2,024 votes in this

  population. This is a list of accepted Absentee Early Votes whose related record inthe2020

  Voter Registration File shows a BIRTHDATE that does not match the related BIRTHDATE in

  the2016 Voter Registration File. A calculated field was created: Change DOB Flag:

  i(cA_VF 20GCOB_STWIBIRTHDATEI - GA_VF_20GCOB_STWIDOB 2016 Listl + 0,
  1,0). This calculated field displays a 1 if the difference between the BIRTHDATE inthe2020

  Voter Registration File and the BIRTHDATE in the2016 Voter Registration File is not zero,

  meaning the Birthdate changed from2016 to 2020. In addition to the general filter, a filter was

  used to show records where GA_VF_20GCOB_STW [BIRTHDATE] is not 1800 and IDOB

  2016 Listl is not Blank, 1881, 1891, or 1900 and Change DOB Flag is 1. This filter removes

  some of the noise of obviously incorrect birthdates from the 2016 Voter File. There are2,024

  voters whose birthdate changed from the 2016 Voter Registration File to the 2020Yoter

  Registration File. To understand the fact patterns describing an issue identified in this list better,

  we called a voter on this list: NANCY DOUSHARM at229-251-8408. We learned that this




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  citizen voted early in-person and presented her ID when she voted. Her BIRTHDATE in the

  2016 Voter Registration File was confirmed to be correct as 1971. Her BIRTHDATE in the

  2020Yoter Registration File was changed to 1941, which is the incorrect BIRTHDATE. This

  issue cantrot be explained by a data entry error, as there would be no reason to change the

  birthdate for an individual if the binhdate was already correct. Votes in this risk bucket appear

  to tell a story that does not follow a reasonable fact pattern and point to significant data integrity

  rssues


                                                      49.


      Absentee Votes with Birthdate On or Before 1915: There are 134 votes in this population. In

  exhibit 16, you will notice that there are only 132 votes in the population. The reason for the

  difference is because the research on the old voters was already done on an old version of the

  file, and was retained, to keep the documentation of the research. In the exhibit, columns A

  through M are Georgia Secretary of State columns. Columns N through T include my

  documentation and notes from my research. The additional two votes included in the vote total

  for this population came through when the analysis was updated to the latest version of the

  Georgia Absentee Early Voter file which added records as the votes tallied later came in. The

  population of voters included in this list are voters in the Absentee Early Voter File with

  birthdates on or before the year 1915. In addition to the general filter, a filter was used to show

  records with GA_VF 2OGCOB_STW IBIRTHDATE] <: 1915 and GA_VF_20GCOB-STW

  [REGISTRATION_NUMBER] is not BlankQ. Voters in this population were deemed to be

  extremely risky as many of the votes match up to records that have obvious inaccurate birthdates

  in the voter file or people who may not be living. I researched and identified 10 individuals from

  this risk population that appear to match up to a deceased individual and I person from this list




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  who appears to have voted as a felon. 30 voters from this list were unable to be identified. and

  many of the people who were identified have obvious inconsistencies with the listed Date of

  Birth, so they may not be accurate matches. Details for the investigation performed can be found

  in the attached exhibit file. Many of these cases identified and researched present clear certain

  matches due to secondary address match confirming that the property listed as the residence of

  the individual voter was transferred to someone else around the time of dead or to the state in the

  case of the felon. Votes in this risk bucket highlight the issues that exist within the Georgia voter

  system detecting and preventing invalid and illegal votes.and properly tracking registered voters

  date of birth and date of death. With the deceased and felons recorded as voting, a reasonable

  person might question if there were large batches of votes that were dumped into the pile which

  included a few dead people. The dead people voting by themselves won't overturn the election

  result, but if they are not claimed by an individual voter, they cause a reasonable person to

  question the integrity of an election. Especially in a state whose voting system does not appear

  to enforce compliance with election rules and regulations.


                                                    50.


      Death Matches: There were up to 10,315 votes in this population of matches. This is a list of

  individuals who appear in the Voter History file as having voted in the November 3,2020

  election whose First Name, Last Name, and Birth Year in the Voter Registration match exactly

  to the First Name, Last Name, and Birth Year of an individual in the 2020Deceased Individuals

  file who is recorded as having perished prior to November 3,2020.Of these, 8,718 are recorded

  as having perished prior to the date which the State records accepting their ballots. Calculated


  fields were created but have been omitted from this description to not overwhelm the testimony.

  Additional details behind the calculated fields can be provided upon request. The Voter




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  Registration File was related to the Voter History ll3 2020 File using the

  REGISTRATION_NUMBER as the common key between the two tables. The Voter

  Registration file was related to the Absentee Early Voting file using the

  REGISTRATION_NUMBER as the common key between the two tables. The Voter

  Registration File was related to the 2020 Deceased Individuals file using a calculated field in

  each table that displays the First Name, Last Name, and Year of Birth in each file. The

  following filters were enabled:12020 Voter Flagl : 1, fDeath Flag] : 1, [Date of Death] <

  111312020. In simple language, the filters were used to display only the Registered Voters who

  appear in the Voter History file and in the Death file and who date of death was at least one

  calendar day before Election Day. Because the Voter Registration file only contains the Birth

  Year for each registered voter, a more exact match cannot be made and there may indeed be false

  positives included in the population. Only the State possesses the fulI birth date records for its

  voters and could conduct the full analysis with certainty.


                                                     51.


      Inmate matches: There were up to 2,560 votes in this population of matches. This is a list of

  Registered Voters who appear in the Inmate file whose related record whose First Name, Last

  Name, and Birth Year in the Voter Registration match exactly to the First Name, Last Name, and

  Birth Year of an individual in the Inmate file. Calculated fields were created but have been

  omiued from this description to not overwhelm the testimony. Additional details behind the

  calculated fields can be provided upon request. The Voter Registration File was related to the

  Voter History ll 3 2020 File using the REGISTRATION_NUMBER as the common key

  between the two tables. The Voter Registration file was related to the Absentee Early Voting file

  using the REGISTRATION_NUMBER as the common key between the two tables. The Voter




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  Registration File was related to the Inmate file using a calculated field in each table that displays

  the FirstName, LastName, and Year of Birth in each file. The following filters were enabled:

  12020 Voter Flagl
                      : 1, [Inmate Flag] : 1, [Count of Name Match - Inmate] : 1. In simple
  language, the filters were used to display only the Registered Voters who appear in the Voter

  History file and in the Inmate file. Because the Voter Registration file only contains the Birth

  Year for each registered voter, a more reliable match technique could not be used and there may

  be false positives included in the population.


                                                     52.


      At the present time, I intend to rely on the documents produced set forth above as possible

  exhibits.


          EXHIBIT 1: Voted Absentee Not in Voter File List


          EXHIBIT 2: Voted Absentee, Applied Earlier than 180 Days Before the Election List


          EXHIBIT 3: Ballots Returned Before They Were Issued List


          EXHIBIT 4: Ballots Issued Before Application List


          EXHIBIT 5: Early Voter Accepted before October 12, 2020 or after November 3, 2020

          List


          EXHIBIT 6: Mailed Voter Received before they were Eligible to be Sent Out on

          September 15,2020List


          EXHIBIT 7: Mailed Voter Issued Before They Were Eligible to be Sent Out on

          September 15,2020List




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        EXHIBIT 8: Voters who both registered after the deadline of October 5 , 2020 List


        EXHIBIT 9: Absentee Votes Accepted with Same Application Date, Issue Date, and

        Return date List


        EXHIBIT 10: Rejected Application Status with Accepted ABEV Status List


        EXHIBIT I l: Ballot Application Date before Registration Date List


        EXHIBIT 12: Non-matching Records - Voter Registry to Absentee Early Voter Record

        Name Match List


        EXHIBIT 13: Voters Who Were Underage When Registered List


        EXHIBIT 14: Additions to the 2020Yoter File (when compared to the 2016 Voter File)

        with Registration Dates prior to the previous election date List


        EXHIBIT 15: Inconsistent birthdates in the Voter Registration File List


        EXHIBIT 16: Absentee Votes with Birthdate On or Before 1915 List


        EXHIBIT 17: Deceased Individuals Match


        EXHIBIT 18: Inmate Match


        EXHIBIT 19: Bryan Geels Resume




                                  [Signature on following page.]




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        This 1't day of December, 2020.



                                     FURTHER AFFIANT SAYETH NOT

                                          8t* A'-/'
                                     Bryan Geels


  Swom to and subscribed before me
  this /e day ofDecember, 2020.                                 VIRGINIA ROCHFORD
                                                                   Notary Publlc
                                                               $trtc of Washinglon
   llron tcu Koc+hr:ntl                                       Corftirisslon #208720
                                                          My Coftnr. Explre3 Jun 14, ZO2l
  Nota6/ Public
  My commission expires:   C- r4-zoz3




                                     Ex. 3 to Petition:
                                        Geels Aff.
